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1    WILLKIE FARR & GALLAGHER LLP
     BENEDICT Y. HUR SBN: 224018
2      bhur@willkie.com
     SIMONA AGNOLUCCI SBN: 246943
3
       sagnolucci@willkie.com
4    EDUARDO E. SANTACANA SBN: 281668
       esantacana@willkie.com
5    NOORJAHAN RAHMAN SBN: 330572
       nrahman@willkie.com
6    ARGEMIRA FLÓREZ SBN: 331153
       aflorez@willkie.com
7
     HARRIS MATEEN SBN: 335593
8      hmateen@willkie.com
     One Front Street, 34th Floor
9    San Francisco, CA 94111
     Telephone: 415 858-7400
10
     Attorneys for Defendant
11   GOOGLE LLC
12

13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                   SAN FRANCISCO DIVISION
16

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     ANIBAL RODRIGUEZ, et al. individually and on    Case No. 3:20-CV-04688-RS
18   behalf of all others similarly situated,
19                                                   APPENDIX A IN SUPPORT OF
                                 Plaintiff,          GOOGLE LLC’S STATEMENT IN
20          vs.                                      SUPPORT OF MOTION TO SEAL
                                                     PORTIONS OF CLASS
21   GOOGLE LLC,                                     CERTIFICATION & DAUBERT
22                                                   BRIEFING (DKTS. 314 & 321)
                                 Defendant.
23                                                   Judge:              Hon. Richard Seeborg
                                                     Courtroom:          3, 17th Floor
24                                                   Action Filed:       07/14/2020
                                                     Trial Date:         Not Set
25   ddf
26
27

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                  APPENDIX A IN SUPPORT OF GOOGLE LLC’S STATEMENT IN SUPPORT OF
                   MOTION TO SEAL PORTIONS OF MOTION FOR CLASS CERTIFICATION
                                     CASE NO. 3:20-CV-04688-RS
      Case 3:20-cv-04688-RS           Document 339-1       Filed 10/12/23      Page 2 of 3




1                                              APPENDIX A
2           The following chart identifies the exhibits filed in connection with the Parties’ Class

3    Certification and Daubert briefing that Google does not seek to seal. Unredacted, public versions

4    are concurrently filed:

5                  Exhibit
6                  Exhibit 4 (Motion)
7                  Exhibit 13 (Motion)
8                  Exhibit 14 (Motion)
9                  Exhibit 16 (Motion)
10                 Exhibit 19 (Motion)
11                 Exhibit 20 (Motion)
12                 Exhibit 49 (Motion)
13                 Exhibit 50 (Motion)
14                 Exhibit 51 (Motion)
15                 Exhibit 60 (Motion)
16                 Exhibit 66 (Motion)
17
                   Expert Report of Schneier
18
                   Expert Report of Azari
19
                   Expert Report of Keegan
20
                   Exhibit 7 (Opp)
21
                   Exhibit 12 (Opp)
22
                   Exhibit 18 (Opp)
23
                   Exhibit 22 (Opp)/ Exhibit 2
24
                   (Daubert Motion)
25
                   Appendix C (Opp)
26
                   Exhibit 4 (Daubert)
27

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                   APPENDIX A IN SUPPORT OF GOOGLE LLC’S STATEMENT IN SUPPORT OF
                    MOTION TO SEAL PORTIONS OF MOTION FOR CLASS CERTIFICATION
                                      CASE NO. 3:20-CV-04688-RS
     Case 3:20-cv-04688-RS     Document 339-1     Filed 10/12/23   Page 3 of 3




1             Exhibit 4 (Daubert Opp)
2             Exhibit 8 (Daubert Opp)
3             Exhibit 10 (Daubert Opp)
4             Exhibit 12 (Daubert Opp)
5             Exhibit 13 (Daubert Opp)
6             Exhibit 73 (Class Cert Reply)
7             Exhibit 78 (Class Cert Reply)
8             Exhibit 79 (Class Cert Reply)
9             Exhibit 80 (Class Cert Reply)
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              APPENDIX A IN SUPPORT OF GOOGLE LLC’S STATEMENT IN SUPPORT OF
               MOTION TO SEAL PORTIONS OF MOTION FOR CLASS CERTIFICATION
                                 CASE NO. 3:20-CV-04688-RS
